Case 1:05-cv-OlO72-.]DT-STA Document 31 Filed 08/03/05 Page 1 of 3 Page|D 30

 

 

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lN THE UNITED sTATES DISTRICT CoURT 0$400 \
FoR THE WESTERN DISTRICT oF TENNESSEE ~,3 00
EAsTERN DIvlsIoN . )°/y _ '
JoE F. JENKiNs and JOAN J. )
JENKINS, Individuaily, )
)
Plaintii`fs, )
)
vs. ) No. 1-05-].072-T/An
)
) JURY DEMANI)ED
ALDERMAN GREG Ho_RToN, ),
JIM PILLOW, MAYoR GEORGE )
KJLLEBREW and THE CITY OF )
MILAN )
)
Defendants. )

 

STIPULATION OF VOLUNTARY DISMISSAL OF COUNT IV OF THE
COMPLAINT ALLEGING VIOLATION OF 42 U.S.C. § 19SS-CONSPIRACY

 

COME NOW the Plaintiffs, by and through their attorneys of record, and Would state unto
the Court that Plaintiffs wish to voluntarily dismiss Count IV of the Complaint alleging violations
ot"42 U_S.C. § 1985 (Conspiracy), but that all other counts of the Complaint remain in full force and
effect',

IT IS, ”l‘HEREFORE, ORDERED that Count l\/" ot`I:'laintiffS' Comp‘.aint alleging violations
of 42 U.S.C. § 1985 are hereby voluntarily dismissed Without prejudice

sNrERrhisrhe 5 dayof //`/M ,2005.

§>WMAD»M

U s DISTPV‘ COURT JUDGE

This document entered on the docket n oompllanoe
with Ru|e 58 and.’or,'fs (a) FRCP on

` Case 1:05-cv-01072-.]DT-STA Document31 Filed 08/03/05 Page 2 0f3 Page|D 31

APPROVED FOR ENTRY;

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
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US DISTRICT COURT

